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                                                                                                         U.S. BANKRUPTCY COURT
                                                                                                         SO. DISTRICT OF FLORIDA


                                      UNITED STATES BANKRUPTCY C URT                                                  a
                                                                                                               NOV 0 2018
                                       SOUTHERN DISTRIC T OF FLORI

In re:
                   Robert Matthews                                                             Case No.: 17-2342 6- MAM


                                                                                                           (Chapter 11)


                                               Debtor in Possession.                                   Re: Doc. No. 207




        RESPONSE OF THE NEW YORK STATE DEPARTMENT OF TAXATION AND
             FINANCE TO THE DEBTO RS' OBJECT ION TO CLAIM NO. 7 - 1


      The New York State Department of Taxation and Finance ("NYSTAX") by and through its'

undersigned counsel, as and for a response ("Response") to the Debtors' Objection to Claim No.
                                             1
7 - 1 filed on October 11, 2018 ("Objection") , states as follows:

                                                             BACKGROUND

       1. On November 6, 2017, Robert Matthews ("Debtor") filed a voluntary petition in

bankruptcy under Title 11, Chapter11 U.S.C. in the United States Bankruptcy Court for the

Southern District of Florida ("Case").


       2. Upon information and belief, an Official Committee of Unsecured Creditors has not been

 appointed in this Case.


       3. On December 18, 2017, NYSTAX filed a proof of claim (Claim No.7- 1) ("Claim")

 which is the subject of the Objection. The basis of the Claim is unpaid sales taxes for the periods




 1
     Capitalized tenns not otherwise defined herein shall have the same meanings ascribed to them in the Objection.

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of time, and in the amounts and character described, therein. A copy of the Claim is annexed

hereto as Exhibit "A" and is incorporated by reference herein.


     4. In the interests of brevity, the Courts' attention is respectfully directed to the contents of

the Objection for a recitation of the remaining background of this Case.


                                      RELIEF REQUEST ED


    5. For the reasons set forth below, NYSTAX respectfully requests that the Court deny,

overrule or limit the relief requested by the Debtor in the Objection.


                       GROUNDS TO OVERRU LE THE OBJECTI ON


A. The Claim and the Objection

   6. The Claim seeks allowance as an (a) unsecured priority claim ("Priority Portion") in the

amount of $278,759.06 for interest accrued on unpaid sales taxes for the various periods of time

ending 5/31/2004, {"Tax Period") and (b) a general unsecured claim in the amount of$20,925. 37

for penalties accrued during the Tax Period.


   7. The Claim is based on the asserted liability of the Debtor, pursuant to New York State Tax

Law §§1131 and 113 3(a) (hereinafter the "Tax Law") as a responsible person for the payment of

unpaid sales tax obligations for the Time Period incurred by an entity known as Stromberg, LLC.


   8. The Debtor seeks entry of an order disallowing and striking the Claim in its entirety. The

sole recitation of the basis of the Debtors' Objection is set forth on page 2 thereof and merely

states:


                      "Upon information and belief, the Debtor paid all sales taxes
                       owed to Claimant. Any late-paid taxes, if any, were deminimums
                       (sic.) and do not justify the amount of interest claimed.

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                       For these reasons, this claim should be disallowed and stricken
                       in its entirety." (Emphasis added)

B. Basis to Overrule and Deny the Relief Requested in the Objection

   8. Sufficient grounds exist to deny the relief requested by the Debtor in the Objection

which include, but are not limited to, the following:

          a. The contents of the Objection are silent as to the Debtors' basis for the assertion

             "Upon information and belief'; and

          b. The Objection is unsupported by any competent, material evidence and/or

             supporting documentation; and

          c. Prior to the Petition Date, the Debtor was personally assessed for, and notified on

             numerous occasions of, the extent of the obligations contained in the Claim; and

         d. The Debtor failed to timely contest the pre-petition personal assessments for

            determination of tax liability required under Tax Law §1138(a).

C. Applicable Statutes and Case Law

   9. The relevant provisions ofthe Tax Law are Sections 1131 and 1133(a). Section 1131

      provides, in pertinent part, as follows:

             "§ 1131. Definitions

              When used in part IV,

                    (1) 'Persons required to collect tax' or person required to collect any tax

              imposed by this article' shall include: every vendor of tangible personal property

              or services; - - -. Said terms shall also include any officer, director or employee

              of a corporation or a dissolved corporation - - - who as such officer, director,

               employee or manager is under a duty to act for such corporatio n,---."




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      Section 1133(a) states, in essence, that a person responsible for collection of sales tax

under Section 1131 is personally liable for payment of the tax; in this case the Debtor is

responsible for the payment of the sales taxes of Stromberg, LLC.

  10. Where an individual is assessed for sales tax liabilities as a responsible person under

Sections 1131 and 1133(a) of the Tax Law, the burden is upon the Debtor to establish by clear

and convincing evidence that the assessment is erroneous. Matter ofBlodnic k v. New York

State Tax Commission, 124 A.D.2d 437 (3rd Dept. 1986), 507 N.Y.S.2d 536.

  11. Notices of the personal assessments against the Debtor were sent by NYSTAX. Tax Law

Section 1138(a) provides that a determination of tax liability becomes final unless the person

against whom it is assessed applies to the tax department, within ninety (90) days of the notice

of such determination, for a hearing. The Debtor never applied for a hearing and, is now time-

barred from doing so in this Case.

   12. Pursuant to Tax Law, Article 28, §1142 (9) "In computing the amount of any interest

required to be paid under this article by the commissioner or by the taxpayer, or any other

amount determined by reference to such amount of interest, such interest and amount shall be

compounded daily." (Emphasis added);


  13. Pursuant to Tax Law, Article 28, §1145 (a)(l)(ii), interest on the unpaid 2009 Assessment

accrued at the rate of fourteen and one-half (14.5%) per annum.


  14. Accordingly, despite any payments made by, or on behalf of, the Debtor as stated in the

Objection, the records ofNYSTA X reflect a balance due from the Debtor as set forth on the

Claim.


  15. Consequently it is respectfully submitted that the Objection should be overruled and



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    denied in its' entirety.


   Wherefore, the New York State Department of Taxation and Finance requests that the Court

issue an order overruling the Objection and allowing the Claim as filed, and for such other and

further relief as to the Court may seem just and proper.


Dated: November 7, 2018
       Albany, New York



                                              Respectfully submitted,
                                              Barbara D. Underwood
                                              Attorney General ofthe State ofNew York

                                              By: /s/ Louis J. Testa
                                              Louis J. Testa, Esq.
                                              Assistant Attorney General
                                              Civil Recoveries Bureau
                                              Bankruptcy Litigation Unit
                                              The Capitol
                                              Albany, New York 12224-0341
                                              Telephone: (518) 776-2607
                                              Facsimile: (518) 650-9368
                                              Email: Louis.'Iesta@ag.ny.gov




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                                 CERTIFICA TE OF SERVICE

       I, Louis J. Testa of the NYS Office of the Attorney General, hereby certify that on

the 7th day ofNovember, 2018, I mailed a copy of the annexed Response of the New York State

Department of Taxation and Finance to the Debtors' Objection to Claim No.7 ("Response") via

regular U.S. mail, postage pre-paid, to the following entities and parties in interest:

Christopher Panagakos, Esq.                                    Heidi A. Feinman, Esq.
120 E Oakland Park Blvd.                                      Office of the U.S. Trustee
Palm Beach, Fl. 33480                                         51 SW 1st Ave #1204
(Attorney for Debtor)                                          Miami, Fl. 33130
                                                                 (US Trustee)

Mark Alan Levine, Esq.                                          Joaquin J. Alemany, Esq.
U.S. Attorney's Office                                         Holland & Knight, LLP
500 S. Australian A venue, Suite 400                         701 Brickell Ave., Suite 3300
West Palm Beach, FL 33401                                       Miami, FL 33131
(Attorney for US.A.ILR.S)                          (Attorney for DB Private Wealth Mortgage, Ltd.)

Steven C. Jones, Esq.                                         Edward A. Marod, Esq.
Wilson, Elser, Moskowitz, Edelman                            777 S Flagler Dr. #500 E
100 SE Second St. STE                                        West Palm Beach, FL 33401
Miami, FL 33131



Dated: November 7, 2018
      Albany, New York




                                                               Is! Louis J. Testa
                                                                 Louis J. Testa




                                                   6
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             Exhibit ''A''
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                         Case 17-23426-MAM                               Claim 7-1 Filed 12/18/17 Page 1 of 3

 Fill in this informatio n to identify the case:                                                                                              FILED
                                                                                                                                       U.S. Bankruptcy Court
                                                                                                                                     Southern District of Florida
                                                                                                                                              12/18/2017

                                                                                                                                      Joseph Falzone, Clerk




Official Form 410                                                                                                                                                   04/16
Proof of Claim
                                                                                                                 case. Do not use this form to
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy
make a request for payment of an administrative expense. Make such a request       according to 11 U.S.C. § 503.

                                                                                                                          redacted copies of any
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach
                                                                                                                         accounts, contracts, judgments,
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running  documents are not available,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C.
                                                                                                                      §§ 152, 157, and 3571.

                                                                                                                        (Form 309) that you received.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy


           Identify the Claim

                                New York State Department ofTaxation & Finance

                                Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


  .Has this claim been             Iii    No
   acquired from                   D      Yes. From whom?
   someone else?
                                  Where should notices to the creditor be sent?                                Where should payments to the creditor be sent? (if
  .Where should notices                                                                                        different)
   and payments to the
   creditor be sent?              New York State Department of Taxation &
                                  Finance
                                                                                                               Name
   Federal Rule of
   Bankruptcy Procedure            Name
   (FRBP) 2002(g)
                                  Bankruptcy Section
                                  P 0 Box 5300
                                  Alb~ny, NY 12205-0300



                                   Contact phone _ _ __.5.._1....,8,.,.-...;4"'5..,7"'"-_.3...1..,6.,.0'----   Contact p h o n e - - - - - - - - -

                                   Contact e m a i l - - - - - - - - - -                                       Contact e m a i l - - - - - - - - -

                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):



                                   Iii     No
                                   D       Yes. Claim number on court claims registry (if known)                                   Filed on



       you know if anyone Iii              No
   else has filed a proof   D              Yes. Who made the earlier filing?
   of claim for this claim?
 Official Form 410                                                                 Proof of Claim                                                     page 1
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                       Case 17-23426-MAM                      Claim 7-1          Filed 12/18/17             Page 2 of 3
        Give Information About the Claim as of the Date the Case Was Filed
    you have any             0       No
 number you use to           li!!l   Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:    3047
 identify the debtor?


.How much is the            $          299684.43                       Does this amount include interest or other charges?
 claim?                                                                0 No
                                                                       Iii!! Yes. Attach statement itemizing interest, fees, expenses, or
                                                                             other charges required by Bankruptcy Rule 3001 (c)(2)(A).

       is the basis of       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
 the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                             Bankruptcy Rule 3001 (c).
                             Limit disclosing information that is entitled to privacy, such as healthcare information.
                                           SALES TAX


 . Is all or part of the        Iii!! No
   claim secured?               0 Yes. The claim is secured by a lien on property.
                                      Nature of property:
                                      0 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.
                                      0 Motor vehicle
                                      0 Other. Describe:


                                      Basis for perfection:

                                      Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                      interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                      document that shows the lien has been filed or recorded.)

                                      Value of property:                         $

                                      Amount of the claim that is                $
                                      secured:
                                      Amount of the claim that is                $               (The sum of the secured and
                                      unsecured:                                 ---------- unsecur ed amounts should
                                                                                                 match the amount in line 7.)


                                      Amount necessary to cure any default as of the                      $
                                      date of the petition:                                               ----------

                                      Annual Interest Rate (when case was filed)                                      %

                                       0     Fixed
                                       0     Variable
 O.ls this claim based on        Iii!! No
  a lease?                       0 Yes. Amount necessary to cure any default as of the date of the petition.$


 1.1s this claim subject to Iii!!      No
   a right of setoff?       0          Yes. Identify the property:




Official Form 410                                                    Proof of Claim                                             page 2
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                            Case 17-23426-MAM                    Claim 7-1          Filed 12/18/17             Page 3 of 3
                        claim
                        under
                                    D       No
                                    li!!! Yes. Check all that apply.                                                          Amount entitled to priority

    A claim may be partly               D Domestic support obligations (including alimony and child support) $
    priority and partly                      under 11 U.S.C. § 507(a)(1)(A) or (a)(1 )(B).
    nonpriority. For example,
    in some categories, the             0     Up to $2,850* of deposits toward purchase, lease, or rental of                  $
    lawl imits the amount                     property or services for personal, family, or household use. 11                 ---------
    entitled to priority.                     U.S.C. § 507(a)(7).
                                        D Wages, salaries, or commissions (up to $12,850*) earned within                      $
                                              180 days before the bankruptcy petition is filed or the debtor's                --------
                                              business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                        li!!! Taxes or penalties owed to governmental units. 11 U.S.C. §                      $ 278759.06
                                              507(a)(8).                                                                      -------
                                        0 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                        0    Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies                   $

                                        • Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date
                                        of adjustment.

          Sign Below
 The person completing          Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP         li!!!   I am the creditor.
 9011(b).
                                0       I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP           0       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules       D       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature    I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                            the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be      and correct.
 fined up to $500,000,
 imprisoned for up to 5         I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                          Executed on date                12/18/2017

                                                                MM/ DD/YYYY


                                Is/ Pugliese/Cummings
                                Signature

                                Print the name of the person who is completing and signing this claim:
                                Name                                Pugliese/Cummings

                                                                   First name       Middle name         Last name
                                Title                               Clerk 11/Mgr. I

                                Company                             New York State Dept. of Tax & Finance Bankruptcy

                                                                   Identify the corporate servicer as the company if the authorized agent is a servicer
                                Address                             P 0 Box 5300

                                                                   Number Street
                                                                    Albany, NY 12205-0300

                                                                   City State ZIP Code
                                Contact phone            518-457-3160                         Email


Official Form 410                                                    Proof of Claim                                                    page 3
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                            ~~~~-ntJthim 7-1 Part 2

                  4
                                                                          Filed 12/18/17 Page 1 of 1
                            Taxation and Finance                                           Statement date: 12123/2017
                            Bankruptcy Section                                               Amendment:         1s1
                            P 0 Box5300
                            Albany NY 12205-0300                                            Case number: 17-23426 PGH
                                                                        Refer to this number for Inquiries
                            (518) 457-3160
                                                                                       Total claim amount: $299,684.43
                       Pre-Petition Proof of Claim                                          Taxpayer ID#:             3047


                       UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                       THE FLAGLER WATERVIEW BLDG
                       1515 NORTH FLAGLER DR., 8TH Fl
                       WEST PALM BEACH, FL 33401




      This is a statement of tax liabilities for MATTHEWS-ROBERT V.   Penalty and interest for each liability is
      co•puted to 11/6/2017.
I
l!    unsecured Priority Liabilities
!.
       Tax    Period
       Type    End                             Tax       Penalty        Interest             Total       Type


      SALES   05/31/04 L-033124285·9           0.00          o.oo      278,759.06            278,759.06 RPA
                                                                       SubTotal 6            278,759.06


      General Unsecured Liabilities

       Tax    Period
       TYPe    End                             Tax       Penalty        Interest             Total       Type


      SALES   05/31/04 L-033124285·9           0.00     20,925.37             o.oo             20,925.37 RPA
                                                                       SubTotal    $           20,925.37




      This claim amends and suparcedes the previous claim dated 12/13/2017.
      Current Annual Interest Rates by Tax TY,pa: Salas and Usa • 14.5%
      Liability Type Descriptions: RPA - Responsible Person Assass•ent




     TC-988 (10/00)       171218131113000001
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                                                 STATE OF NEW YORK
                                      OFFICE OF THE ATTORNEY GENERAL
BARBARA D. UNDERWOOD                                                                                 DIVISION OF STATE COUNSEL
   Attorney General                                                                                  Civil Recoveries Bureau
                                                                                                     Bankruptcy Litigation Unit

                                                                      November 7, 2018



    Court Clerk
    United States Bankruptcy Court
    Southern District of Florida
    Flagler Waterview Building
    1515 North Flagler Drive
    West Palm Beach, FL 33401


                       In re: Robert Matthews (Chapter 11) Case No. 17-23426-MAM
                                Debtors' Objection to Claim (Doc. No. 207)

    Dear Sir or Madam:

       The undersigned represents the New York State Department of Taxation and Finance with
    regard to the above referenced bankruptcy case and contested matter.

       Enclosed herewith for filing please find an original and one copy of the Response of the
    New York State Department of Taxation and Finance to Objection to Claim No. 7 -
    !("Response") dated November 7, 2018.

       Upon filing, please view this letter as a request that you return a time stamped copy of the
    Response to our office in the enclosed self-addressed, pre-paid, return envelope that has been
    provided for your convenience.

       Please do not hesitate to contact me if you have any questions or require further information
    on this request.

       Thank you for your time and attention to this matter.


                                                            -~!~~
                                                          ~=:;;,esta, Esq.
                                                                 Assistant Attorney General
                                                                   State ofNew York
                                                                      (518) 776-2607
                                                                   louis. testa@ag.ny .gov
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